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PR: USAO 2025R00241

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA =
v. * CRIMINAL NO. DLB-2.5- cr- 209
JOHN KODWO SAM ADDISON = (Robbery of United States Property,
and * 18 U.S.C. § 2114; Stealing Keys
JAMES MARKIES GARRISON, * Adopted by the United States Postal
* Service, 18 U.S.C. § 1704; Aiding and
Defendants * Abetting, 18 U.S.C. § 2; Forfeiture,
* 18 U.S.C. § 924(d),
* 18 U.S.C. § 981(a)(1)(©),
* 21 U.S.C. § 853(p), 28 U.S.C. § 2461)
*
KRKEKKKEEK
INDICTMENT
COUNT ONE

(Robbery of United States Property)
The Grand Jury for the District of Maryland charges that:
On or about February 18, 2025, in the District of Maryland, the defendants,

JOHN KODWO SAM ADDISON and
JAMES MARKIES GARRISON,

did knowingly rob Victim-1, an employee of the United States Postal Service, having lawful
charge, custody, and control of United States mail matter and other property of the United States,
that is, a United States Postal Service arrow key, and in so doing put the life of Victim-1 in jeopardy

by the use of a dangerous weapon, that is, a handgun.

18 U.S.C. § 2114(a)
18 U.S.C. §2
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COUNT TWO
(Stealing Keys Adopted by the United States Postal Service)

The Grand Jury for the District of Maryland further charges that:
On or about February 18, 2025, in the District of Maryland, the defendants,

JOHN KODWO SAM ADDISON and
JAMES MARKIES GARRISON,

did steal and purloin a key suited to any lock adopted and in use by the United States Postal Service
and in use on any lock box, lock drawer, or other authorized receptacle for the deposit or delivery

of mail matter, that is, a United States Postal Service arrow key.

18 U.S.C. § 1704
18 U.S.C. §2
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:
1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 924(d),
981(a)(1)(C) and 982(a)(5), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the
defendants’ conviction under Count One of this Indictment.

Robbery Forfeiture

2. Upon conviction of the offense alleged in Count One of this Indictment, the
defendants,

JOHN KODWO SAM ADDISON and
JAMES MARKIES GARRISON,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable to such
offense.

Firearms and Ammunition Forfeiture

3. Upon conviction of the offense set forth in Count One of this Indictment, the

defendants,

JOHN KODWO SAM ADDISON and
JAMES MARKIES GARRISON,

shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any
firearms and ammunition involved in those offenses.

Substitute Assets

4, If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:
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a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty,

the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by 28
U.S.C. § 2461(c).
18 U.S.C. § 924(d)
18 U.S.C. § 981(a)(1)(C)

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

Kelly O. Hayes °
United States Attorney
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TL ID) &
Foreperson Date .
